
USCA1 Opinion

	




                           UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                ____________________
       No. 96-1857
                              UNITED STATES OF AMERICA,
                                Plaintiff, Appellee,
                                         v.
                               AWILDA GARCIA-VELILLA,
                                Defendant, Appellant.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
                  [Hon. Juan M. Perez-Gimenez, U.S. District Judge]
                                ____________________
                                       Before
                                Boudin, Circuit Judge,
                       John R. Gibson,* Senior Circuit Judge,
                        and Pollak,** Senior District Judge.
                                ____________________
            Evelyn Quinones Carrasquillo for appellant.
            Jose  
                 A.  
                     Quiles-Espinosa, Senior Litigation Counsel, with whom
       Guillermo 
                 Gil,  United 
                              States 
                                      Attorney, Nelson  
                                                        Perez-Sosa, Assistant
       United States Attorney, and   Warren 
                                            Vazquez, Assistant United States
       Attorney, were on brief for the appellee.
                                ____________________
                                   August 5, 1997
                                ____________________
       _________________________
       *Of the Eighth Circuit, sitting by designation.
       **Of the Eastern District of Pennsylvania, sitting by designation.

                 Per  
                     Curiam. The defendant-appellant, Awilda Garcia-
            Velilla, pled guilty to one count of conspiracy to possess and
            distribute cocaine in violation of 21 U.S.C. SS 841(a)(1), 846.
            In the plea agreement, the government agreed to dismiss 12
            other counts and to recommend a downward departure "if the
            [defendant's] cooperation is deemed substantial." 18 U.S.C. S
            3553(e); U.S.S.G. S 5K1.1. The agreement purported to reserve
            to the prosecutor the exclusive right to decide whether
            substantial assistance had been provided.
                 Garcia-Velilla in turn agreed "to provide all information
            known to the defendant regarding any criminal activity
            including but not limited to the offenses described in the
            pending indictment." The plea agreement further warned that if
            the defendant failed in any way to fulfill completely her
            obligations under the agreement, the government would be freed
            from all obligations under the agreement. As an example of a
            breach, the agreement referred to a defendant who "knowingly
            withholds evidence, or otherwise is not completely truthful
            with the United States . . . ."
                 Garcia-Velilla did provide considerable information to the
            government but also, during her release on bail, twice tested
            positive for continued use of cocaine. The government took the
            position that this impaired her usefulness as a witness and
            said that it would not move for a downward departure. In
            addition, Garcia-Velilla declined to tell the government who
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            had supplied her with cocaine. The government asserted that
            this was a further reason for its refusal to make a downward
            departure motion.
                 In connection with sentencing, the government persisted in
            its refusal and, despite a request by Garcia-Velilla, the
            district court declined to compel the government to make such
            a motion. It sentenced Garcia-Velilla to 70 months'
            imprisonment, a sentence determined without the benefit of a
            downward departure for substantial assistance. The 70-month
            sentence was itself below the statutory minimum because Garcia-
            Velilla satisfied the requirements of 18 U.S.C. S 3553(f); but
            a downward departure for substantial assistance would have
            permitted a sentence below the guideline range as well.
            U.S.S.G. S 5K1.1. Garcia Velilla now appeals claiming that the
            government breached its plea agreement by failing to move for
            the latter departure. We affirm.
                 The government is obliged to respect the terms of the plea
            agreement, United States v. Tilley, 964 F.2d 66, 70 (1st Cir.
            1992), including a conditional promise to recommend a downward
            departure. Whether this agreement could be regarded as
            establishing such a promise is open to dispute since (as noted)
            the agreement also purported to reserve this decision
            exclusively to the prosecutor. Also open to dispute is the
            standard that would apply if the court did assess the
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            government's refusal.  See generally United States v. Rexach,
            896 F.2d 710 (2d Cir.), cert. denied, 498 U.S. 969 (1990).
                 We need not definitively resolve these questions, because
            Garcia-Velilla admits that she refused to provide the names of
            those who supplied her with cocaine while she was on bail.
            This is a self-evident violation of an explicit requirement of
            the plea agreement that she "provide all information known to
            [her] regarding any criminal activity." The government in turn
            was released from its obligations under the plea agreement,
            including any obligation to consider a downward departure
            motion.
                 Garcia-Velilla says that the government got the benefit of
            considerable cooperation and has given nothing in return; and
            she argues that her refusal to supply names of the persons who
            supplied the cocaine should not be regarded as a sufficiently
            important breach to excuse compliance by the government. To
            the first point the answer is that Garcia-Velilla knew from the
            agreement that she had to provide     all information about
            criminal activity in order to receive    any benefit of the
            agreement. As to the claim that her breach was too minor to
            count, the identity of suppliers of cocaine can hardly be
            regarded as trivial or unimportant, especially where the plea
            agreement itself made clear that all information had to be
            supplied.
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                 It thus becomes unnecessary to consider whether the
            government could have declined to file a section 5K1.1 motion
            for the limited reason that the defendant had, while on release
            on bail, tested positively for cocaine and therefore apparently
            had been in unlawful possession of that substance. Apparently
            the plea agreement did not explicitly warn Garcia-Velilla that
            she was obliged to refrain from any further criminal activity,
            nor did it say that further criminal activity would be regarded
            as failure to provide substantial assistance. Since this is a
            recurring problem, it is unclear why the government fails to
            provide such a warning, which would serve the interests of both
            the defendant and the government.
                 In all events, the various questions posed by the lack of
            warning need not be resolved in this case. Here, the defendant
            did breach the plea agreement by refusing to provide
            information plainly required by the agreement. That is basis
            enough to affirm the district court. Solely because it may be
            useful to alert prosecutors and defense counsel to the lack of
            warning issue, this opinion will be published.
                 Affirmed.
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